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                    IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                              CENTRAL DIVISION

       THERESA MARSHALL                                                PLAINTIFF

       v.                          No. 4:19-cv-913-DPM

       RICHARD D. TAYLOR, United States Bankruptcy
       Judge; and MARKT. MCCARTY, Trustee          DEFENDANTS

                                          ORDER
            1.      On 8 October 2020, the Bankruptcy Court denied Marshall's
       motion to reopen her case. Doc. 7 at 7. Pursuant to Bankruptcy Rule
       8002(a), Marshall had fourteen days to file a timely notice of appeal.
       She attempted to do so by filing one in this Court on 22 October 2020.
       Doc. 7 at 3. The Clerk returned the document with instructions to file
       the notice with the Bankruptcy Court. Doc. 7 at 4.
            2.      Marshall again tried to file an appeal by filing a document
       entitled "Complaint No. 2" with this Court on 2 November 2020
       wherein she states her goal is to "amend Notice of Appeal of October
       22, 2020." Doc. 7 at 1-2. The Clerk filed the paper as an amended
       complaint; however this case is closed.
            3.      Pursuant to Bankruptcy Rule 8002(a)(4), the Court directs
       the Clerk to transfer Marshall's notice of appeal and accompanying
       documents, Doc. 7, to the Bankruptcy Court of the Eastern District of
          Case 4:19-cv-00913-DPM Document 8 Filed 11/05/20 Page 2 of 2




Arkansas. The Court makes no finding about whether the notice's
contents meet the requirements of Bankruptcy Rule 8003(a)(3).
     4.       The Court directs the Clerk to modify the docket: Doc. 7
should be a "Notice of Filing".
     So Ordered.

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                                    D.P. Marshall Jr.
                                    United States District Judge




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